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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
ELIZABETH KYLE-LABELL et al.,
Plaintiffs,
No. 2:15-cv-05193-ES-JAD
v.
CONSENT ORDER GRANTING
SELECTIVE SERVICE SYSTEM et al., SUBSTITUTION OF ATTORNEY
Defendants.

 

 

Notice is hereby given that, subject to approval by the court, Plaintiff Elizabeth Kyle-
Labell substitutes Gary R. Studen, State Bar No. 019012009, as counsel of record in place of

Michael John Daher and Roy Den Hollander.

Contact information for new counsel is as follows:

Firm Name: Boies Schiller Flexner LLP

Address: 55 Hudson Yards, New York, NY 10001
Telephone: (212) 446-2300

Facsimile: (212) 446-2350

E-Mail: gstuden@bsfllp.com

 
Case 2:15-cv-05193-ES-JAD Document 104 Filed 06/24/19 Page 2 of 2 PagelD: 1518

I consent to the above substitution.

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Elizabeth Kyle-Labell

I consent to being substituted.

Date: 6 [Ze / 24/4

Date: LAO (7

    

Michael John Daher

3 oy Den Hollander

I consent to the above substitution.

Date: G/ 20 | , Sha = 5

The substitution of attorney is hereby approved and so ORDERED.

Date: Of 2u] [9 fide.
Honorable Joseph A. Dickson

 

 
